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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

AARON TIPTON,                                 )
                                              )       Civil Action No. 2:24-cv-00156
                 Plaintiff,                   )
                                              )
          v.                                  )
                                              )       HON. CHRISTOPHER B. BROWN
ALLEGHENY COUNTY,                             )
LORI SCHULTZ, ESTHER STANTON,                 )
SANDRA SIMMS, JOHN/JANE                       )
DOE(S) 1, ASHLEY BRINKMAN,                    )
RENEE MADDEN, ORLANDO                         )
HARPER, FNU D’ANGELO,                         )
FNU TURNER, JOHN/JANE                         )
DOE(S) 2, and HUNTER SARVER,                  )
                                              )
                 Defendants.                  )       Electronically Filed.

                               PRAECIPE TO ISSUE SUMMONS

To the Clerk of Courts:

          Kindly issue the Summons in a Civil action in the above-captioned case as attached
hereto.


                                              Respectfully submitted,

                                              LAW OFFICES OF JOEL SANSONE

                                              s/ Joel S. Sansone
                                              Joel S. Sansone, Esquire
                                              PA ID No. 41008
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Dated: August 22, 2024
